

Matter of Petre v Lucia (2025 NY Slip Op 00176)





Matter of Petre v Lucia


2025 NY Slip Op 00176


Decided on January 09, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 09, 2025

Before: Moulton, J.P., Kapnick, Scarpulla, Mendez, O'Neill Levy, JJ. 


Index No. 161731/23 Appeal No. 3456 Case No. 2024-03322 

[*1]In the Matter of Gheorghe Petre, Petitioner-Appellant,
vJoseph Lucia, et al., Respondents-Respondents.


Gheorghe Petre, appellant pro se.



Order, Supreme Court, New York County (Lyle E. Frank, J.), entered on or about April 16, 2024, which denied plaintiff's motion for a default judgment and dismissed the complaint without prejudice to the matter being re-filed in Bronx County, unanimously affirmed, without costs.
The place of trial of an action in which the judgment demanded would affect the title to, or the possession, use, or enjoyment of real property, as here, is the county in which the subject of the action is situated (CPLR 507). Plaintiff contends that pursuant to CPLR 509, the place of trial is the county he designated. While in some cases CPLR 507 does not preclude the trial of an action affecting real property from taking place in a county other than the one where the real property is located, the general rule is to the contrary (see Moschera &amp; Catalano, Inc v Advanced Structures Corp,  104 AD2d 306, 307 [1st Dept 1984]), and there is no reason to deviate from the general rule here.
We have considered plaintiff's remaining arguments and find them unavailing. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 9, 2025








